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                                                         November 16, 2021


VIA ECF                                             0(02(1'256('
Honorable Sidney H. Stein
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

                    Re:    United States v. Victor Rivera, Case No. 21-CR-221 (SHS)

Dear Judge Stein:

                 This firm represents defendant Victor Rivera in the referenced matter. I write today to
respectfully request a brief adjournment of approximately two weeks for the conference currently
scheduled in the referenced matter for November 18, 2021 at 10:00 am. I have spoken with Assistant
United States Attorney David Abramowicz, who has no objection to the instant adjournment request.

                In particular, I have been in continuing intensive, yet productive, discussions with the
government concerning the terms of a plea agreement that would resolve the charges against Mr. Rivera
herein. While we have reached agreement on the vast majority of the terms of such a plea agreement,
issues remain outstanding with respect to the amount of restitution and the amount of forfeiture for which
Mr. Rivera will be responsible if he enters into a plea agreement with the government. We believe that
the requested adjournment will provide the parties with the additional time necessary to finalize our
discussions concerning those two remaining issues and finalize the terms of a plea agreement.

                 Given the foregoing, we respectfully request an adjournment of approximately two weeks
from the currently scheduled November 18, 2020 status conference. Per the government’s request, Mr.
Rivera consents to the exclusion of time under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), in
furtherance of the ends of justice, until the adjourned-to date selected by this Court for the next
conference herein.

                Thank you for your consideration and attention to this matter.
                                                        Respectfully submitted,
                                                        /s/
                                                        Harlan Protass
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